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             Exhibit 43
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   ·1

   ·2· · UNITED STATES DISTRICT COURT

   ·3· · DISTRICT OF NEW JERSEY

   ·4· · Civil Action No. 2:16-cv-06576-KM-MAH

   ·5· · ------------------------------------------

   ·6· · INDUSTRIA DE ALIMENTOS ZENU S.A.S.,

   ·7· · · · · · · Plaintiff,

   ·8· · · · vs.

   ·9· · LATINFOOD U.S. CORP. d/b/a ZENU

   10· · PRODUCTS CO. and WILSON ZULUAGA,

   11· · · · · · · Defendants.

   12· · ------------------------------------------

   13

   14· · · VIDEOTAPED DEPOSITION OF WILSON ZULUAGA

   15

   16· · · · · ·Wednesday, December 18, 2019

   17· · · · · · · · · · 10:00 a.m.

   18

   19

   20

   21

   22· · Reported by:

   23· · Joan Ferrara, RMR, FCRR

   24· · Job No. 294203

   25


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · corporate representative for LatinFood.

   ·3· · · · · · · Are you aware of that?

   ·4· · · · A.· · Yes.

   ·5· · · · Q.· · Okay.

   ·6· · · · · · · And looking at Exhibit 8, which

   ·7· · is the 30(b)(6) Notice, which is served on

   ·8· · the corporation, there is a list of issues

   ·9· · that we've requested we get a witness who

   10· · can testify about.· Those start on, I

   11· · believe, the sixth page of the document.

   12· · · · · · · Have you ever reviewed that list

   13· · of topics before?

   14· · · · A.· · Topics for examination?

   15· · · · Q.· · Yes.

   16· · · · A.· · Yes.

   17· · · · Q.· · Okay.

   18· · · · · · · And are you -- to your knowledge,

   19· · are you the person who is best qualified to

   20· · testify about those subjects on behalf of

   21· · Defendant LatinFood?

   22· · · · A.· · Yes.

   23· · · · Q.· · And are you able today to testify

   24· · about each of those listed topics?

   25· · · · A.· · Yes, I believe so.


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · Q.· · And again, just for convenience,

   ·3· · the Defendant's full name in the caption is

   ·4· · LatinFood U.S. Corp., doing business as

   ·5· · Zenu Products Co.· I'm going to refer to

   ·6· · that entity today just as "LatinFood."

   ·7· · · · · · · Is that acceptable?

   ·8· · · · A.· · Yes.

   ·9· · · · Q.· · Mr. Zuluaga, where were you born?

   10· · · · A.· · Medellin, Colombia.

   11· · · · Q.· · What year were you born?

   12· · · · A.· · 1968.

   13· · · · Q.· · And did you live -- do you live

   14· · in Colombia now?

   15· · · · A.· · I do not.

   16· · · · Q.· · Did you live in Colombia at some

   17· · point after your birth?

   18· · · · A.· · Yes.

   19· · · · Q.· · And for approximately how long

   20· · did you live in Colombia?

   21· · · · A.· · I lived in Colombia until my, I

   22· · believe, mid to late teens.

   23· · · · Q.· · And at that point, did you leave

   24· · Colombia permanently?

   25· · · · A.· · Yes.


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · Q.· · Do you recall what year that was

   ·3· · that you left?

   ·4· · · · A.· · I'm sorry?

   ·5· · · · Q.· · Do you know what year you left

   ·6· · Colombia?

   ·7· · · · A.· · That was mid '80s, the best that

   ·8· · I can remember.

   ·9· · · · Q.· · Is there a reason that you left

   10· · Colombia at that time in your life?

   11· · · · A.· · Yes.

   12· · · · Q.· · What was that?

   13· · · · A.· · My father, who was the only

   14· · breadwinner at the time, had been victim of

   15· · an assault, he was incapacitated for a

   16· · couple of years.· So being the oldest in

   17· · the family, it was upon me to support the

   18· · family and continue on.· So I came here

   19· · looking for a way to do that.

   20· · · · Q.· · And where did you go when you

   21· · first left Colombia?

   22· · · · A.· · United States.

   23· · · · Q.· · And have you lived in the United

   24· · States continually since then?

   25· · · · A.· · Yes.


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · A.· · And related subjects.

   ·3· · · · Q.· · I'm sorry, in mechanical

   ·4· · engineering, that was your degree?

   ·5· · · · A.· · Management and related subjects.

   ·6· · · · Q.· · And did you obtain any other

   ·7· · degrees from any other institutions?

   ·8· · · · A.· · No formal degrees, no.

   ·9· · · · Q.· · Now, turning back to your years

   10· · in Colombia, did you -- you said you were

   11· · born in Medellin.· Did you stay there for

   12· · your entire time in Colombia?

   13· · · · A.· · Living in Medellin, yes.

   14· · · · Q.· · And you mentioned your father.

   15· · Who else did you live with other than your

   16· · father when you were in Colombia?

   17· · · · A.· · That would be my mother and my

   18· · brother and my sister.

   19· · · · Q.· · And what is your mother's name?

   20· · · · A.· · Gloria Balacio.

   21· · · · Q.· · And what is your brother's name?

   22· · · · A.· · Hoover, H-O-O-V-E-R, and we share

   23· · the same last name, Zuluaga.

   24· · · · Q.· · And what is your sister's name?

   25· · · · A.· · Gloria Parra, P-A-R-R-A.


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · Q.· · And just lastly, your father's

   ·3· · name?

   ·4· · · · A.· · Victor Zuluaga.

   ·5· · · · Q.· · And are those four family members

   ·6· · still alive?

   ·7· · · · A.· · Yes.

   ·8· · · · Q.· · And do any of them continue to

   ·9· · reside in Colombia?

   10· · · · A.· · Yes.

   11· · · · Q.· · Do all of them continue to reside

   12· · in Colombia?

   13· · · · A.· · No.

   14· · · · Q.· · Who does not live in Colombia of

   15· · that group?

   16· · · · A.· · My brother lives in the United

   17· · States, and my sister lives in the United

   18· · States currently.

   19· · · · Q.· · But both your mother and father

   20· · continue to live in Colombia?

   21· · · · A.· · Today, yes.

   22· · · · Q.· · Did either of them ever live

   23· · outside of Colombia?

   24· · · · A.· · Yes.

   25· · · · Q.· · Who was that?


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · A.· · Both of them.

   ·3· · · · Q.· · Okay.

   ·4· · · · · · · And when -- what period of time

   ·5· · were they not in Colombia, did they not

   ·6· · live in Colombia?

   ·7· · · · A.· · I don't remember the years.

   ·8· · Early '90s, the best of my recollection.

   ·9· · · · Q.· · Where did they live in the early

   10· · '90s outside of Colombia?

   11· · · · A.· · New York.

   12· · · · Q.· · And how many years were they

   13· · living in New York?

   14· · · · A.· · Best that I can recall, my father

   15· · lived here initially, I believe, two years,

   16· · and later on he came back and lived here

   17· · another two years, but I may be off.· It

   18· · was a number of years ago.

   19· · · · Q.· · And how about your mother?

   20· · · · A.· · She lived here 20 years perhaps.

   21· · A long time.

   22· · · · Q.· · When did she move back to

   23· · Colombia?

   24· · · · A.· · I don't recall.

   25· · · · Q.· · Was it in the last decade?


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   ·1· · · · · · · · · W. Zuluaga

   ·2· · · · A.· · I believe it was probably more

   ·3· · than the last decade.

   ·4· · · · Q.· · And when your mother was living

   ·5· · in the United States, did you and she work

   ·6· · together at all?

   ·7· · · · A.· · No.

   ·8· · · · Q.· · Did your father ever work with

   ·9· · you while he was here?

   10· · · · A.· · No.

   11· · · · Q.· · Now, you were in Colombia until

   12· · 11th grade, is that correct, or

   13· · approximately then?

   14· · · · A.· · Yes, about.

   15· · · · Q.· · Okay.

   16· · · · · · · And did your family have a

   17· · television set in those years that you were

   18· · there?

   19· · · · A.· · Just the last few years.

   20· · · · Q.· · And were there supermarkets in

   21· · the area where you lived?

   22· · · · A.· · Not big supermarkets, no.

   23· · · · Q.· · There were food stores?

   24· · · · A.· · Yes.

   25· · · · Q.· · Did you ever do the shopping for


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·1· · · · · · · · · W. Zuluaga

·2· · the family while you were there?

·3· · · · A.· · No.

·4· · · · Q.· · Did you ever do shopping for the

·5· · family?

·6· · · · A.· · No.

·7· · · · Q.· · Did your mother do that?

·8· · · · A.· · Best of my knowledge.

·9· · · · Q.· · The products that your company

10· · makes, that LatinFood makes now, just

11· · generally what are those products?

12· · · · A.· · We don't make anything actually

13· · right now.

14· · · · Q.· · The products that you sell.

15· · · · A.· · Okay.· Generally speaking, we

16· · sell food perishable and non-perishable

17· · food items.

18· · · · Q.· · What type of food items do you

19· · sell?

20· · · · A.· · We have snacks.· We have

21· · groceries.· We have brown sugar.· We have

22· · beverages.· We have processed meats.· I may

23· · be missing a few.

24· · · · Q.· · Were those all products you

25· · consumed when you lived in Colombia?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · No.

·3· · · · Q.· · So you didn't consume any of

·4· · those types of products when you lived in

·5· · Colombia?

·6· · · · A.· · I don't remember any of those,

·7· · no.

·8· · · · Q.· · So snacks, groceries, processed

·9· · meats, you don't recall whether you

10· · consumed any of them?

11· · · · A.· · Well, we consumed panela, it's

12· · like hard brown sugar, but if you can be

13· · more specific, perhaps I can --

14· · · · Q.· · Well, how about you say processed

15· · meats.

16· · · · A.· · Uh-huh.

17· · · · Q.· · Like sausages, did you ever eat

18· · processed sausages when you were in

19· · Colombia?

20· · · · A.· · No.

21· · · · Q.· · Did you ever eat any processed

22· · meats?

23· · · · A.· · Not while in Colombia, no.

24· · · · Q.· · Did you ever eat Chorizo when you

25· · were in Colombia?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Sorry?

·3· · · · Q.· · Chorizo?

·4· · · · A.· · Chorizo, no -- well, it wasn't a

·5· · food that we have custom in our house.

·6· · · · Q.· · Were you aware that other people

·7· · ate that when you were in Colombia?

·8· · · · A.· · I was aware of the product.

·9· · · · Q.· · Okay.

10· · · · · · · And how about salchicha?

11· · · · A.· · Yes.

12· · · · Q.· · Is that a product you ate when

13· · you were in Colombia?

14· · · · A.· · Yes.

15· · · · Q.· · What is salchicha?

16· · · · A.· · It's like a sausage, but

17· · processed differently.

18· · · · Q.· · And all salchicha, were there any

19· · other kinds of sausages that you ate when

20· · you were in Colombia?

21· · · · A.· · Not that I can remember.

22· · · · Q.· · And what brand of salchicha do

23· · you recall eating when you were in

24· · Colombia?

25· · · · A.· · I don't know.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Did you -- again, in all the

·3· · years until you were through 11th grade, do

·4· · you recall seeing television advertisements

·5· · for food products?

·6· · · · A.· · No.

·7· · · · Q.· · Do you recall ever seeing any

·8· · food products in food stores around where

·9· · you lived?

10· · · · A.· · Food products such as?

11· · · · Q.· · Such as salchicha.

12· · · · A.· · The only stores near my house

13· · didn't carry those type of products.

14· · · · Q.· · Well, I'm not talking about just

15· · near your house.· I mean, you were there

16· · for quite a few years, right?

17· · · · A.· · I don't remember, no.

18· · · · Q.· · So you don't remember ever going

19· · into a store and seeing salchicha being

20· · sold?

21· · · · A.· · No.

22· · · · Q.· · And you never recalled seeing any

23· · television advertisements for any type of

24· · processed meats, is that correct?

25· · · · A.· · That is correct.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Did you ever purchase any

·3· · salchicha when you were in Colombia?

·4· · · · A.· · No.

·5· · · · Q.· · So when you ate it, had it been

·6· · purchased by your mother?

·7· · · · A.· · I presume.

·8· · · · Q.· · So when you left Colombia, were

·9· · you approximately 17 years old?

10· · · · A.· · Around.

11· · · · Q.· · Okay.

12· · · · · · · And in the 17 years that you were

13· · living in the Medellin area in Colombia,

14· · did you ever see any products advertised by

15· · Industria?

16· · · · A.· · I don't remember, no.

17· · · · Q.· · Do you ever recall seeing any

18· · product sold in Colombia with the Zenu

19· · brand?

20· · · · A.· · I don't remember seeing any.

21· · · · Q.· · Do you ever remember seeing in

22· · those years, ever remember seeing any

23· · products sold in the Ranchera brand?

24· · · · A.· · I don't remember seeing any.

25· · · · Q.· · When you were in Colombia, do you


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·1· · · · · · · · · W. Zuluaga

·2· · recall ever discussing Zenu or Ranchera

·3· · with your mother?

·4· · · · A.· · No.

·5· · · · Q.· · Do you ever recall discussing

·6· · those two brands with anyone else while you

·7· · were in Colombia?

·8· · · · A.· · I do not, no.

·9· · · · Q.· · Are you aware of or can you

10· · recall any brands for food products that

11· · you saw while you were in Colombia?

12· · · · A.· · I can't.

13· · · · Q.· · And you mentioned your brother

14· · was named Hoover, is that correct?

15· · · · A.· · Correct.

16· · · · Q.· · Has he ever gone by the name

17· · Hoober, with a B?

18· · · · A.· · Yes.

19· · · · Q.· · Has he ever gone by any other

20· · names that you're aware of?

21· · · · A.· · Not that I'm aware of.

22· · · · Q.· · Do you know why sometimes he used

23· · Hoover and sometimes used Hoober?

24· · · · · · · MR. INGBER:· Objection as

25· · · · relevancy of his brother.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. RAYMOND:· We'll get to that.

·3· · · · A.· · I'm not aware of him using a

·4· · different name or a different form of his

·5· · name.

·6· · · · Q.· · Which one do you call him when

·7· · you speak to him?· Do you call him Hoober

·8· · or Hoover?

·9· · · · A.· · In Spanish, we don't make that

10· · big a difference on the two B's as we do in

11· · English.· So I call him Hoober.

12· · · · Q.· · And does he -- has he ever worked

13· · for LatinFood?

14· · · · A.· · No.

15· · · · Q.· · Has he ever worked for any

16· · company that you were involved with?

17· · · · A.· · We co-owned a company for a

18· · bakery.· That's it.

19· · · · Q.· · What was the name of that

20· · company?

21· · · · A.· · Zuluaga Food Services.

22· · · · Q.· · Is that company still in

23· · existence?

24· · · · A.· · Yes, that I know of.

25· · · · Q.· · And you mentioned that that


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·1· · · · · · · · · W. Zuluaga

·2· · company ran a bakery, is that correct?

·3· · · · A.· · Yes.

·4· · · · Q.· · One bakery?

·5· · · · A.· · Yes.

·6· · · · Q.· · And what was the name of that

·7· · bakery?

·8· · · · A.· · Paisa Pan Bakery, P-A-I-S-A,

·9· · P-A-N, Bakery.

10· · · · Q.· · And where is Paisa Pan Bakery

11· · located?

12· · · · A.· · Long Island, New York.

13· · · · Q.· · What town in Long Island?

14· · · · A.· · Farmingville.

15· · · · Q.· · And is that bakery still open?

16· · · · A.· · As far as I know.

17· · · · Q.· · Are you still involved with it at

18· · all?

19· · · · A.· · I am not.

20· · · · Q.· · Is your brother still involved

21· · with it?

22· · · · A.· · As far as I know.

23· · · · Q.· · Does he run it?

24· · · · A.· · I don't know.

25· · · · Q.· · During the years that you were


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·1· · · · · · · · · W. Zuluaga

·2· · getting the degrees that we talked about

·3· · this morning, did you, were you also

·4· · employed?

·5· · · · A.· · Yes.

·6· · · · Q.· · And where were you employed

·7· · during those years?

·8· · · · A.· · I believe I was at Air Industries

·9· · Machining.

10· · · · Q.· · What was the name again?

11· · · · A.· · Air Industries Machining.

12· · · · Q.· · What business were they in?

13· · · · A.· · Manufacturing.

14· · · · Q.· · Manufacturing of what?

15· · · · A.· · Aircraft components and some

16· · assemblies.

17· · · · Q.· · And how long did you work for

18· · that company?

19· · · · A.· · Initially, at that time?

20· · · · Q.· · Yes.

21· · · · A.· · I believe I was with them 10 to

22· · 12 years.

23· · · · Q.· · So just trying to pin this down.

24· · You were born in 1968 and you believe you

25· · came to the United States around age 17, so


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Was it more than 10 years?

·3· · · · A.· · No.

·4· · · · Q.· · More than 5 years?

·5· · · · A.· · No.

·6· · · · Q.· · And after that acquisition, where

·7· · did you go?

·8· · · · A.· · I stayed with the company who

·9· · acquired them, Aljo Gefa, for a number of

10· · years.

11· · · · Q.· · Approximately how many?

12· · · · A.· · Around maybe three years.

13· · · · Q.· · And do you know what year you

14· · left their employ?

15· · · · A.· · I don't remember.· It was early

16· · 2000s.

17· · · · Q.· · Where did you go to work after

18· · leaving Aljo Gefa?

19· · · · A.· · I went back to Air Industries

20· · Machining.

21· · · · Q.· · And how long did you work there

22· · again?

23· · · · A.· · I was there, I want to say, about

24· · seven years, give or take.

25· · · · Q.· · What was your position during


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·1· · · · · · · · · W. Zuluaga

·2· · those seven years?

·3· · · · A.· · Director of production.

·4· · · · Q.· · What were you producing?

·5· · · · A.· · We were manufacturing aircraft

·6· · components and assemblies.

·7· · · · Q.· · And during this period of time in

·8· · the, I guess now mid 2000s, were you doing

·9· · anything else to make money other than this

10· · job at Air Industries?· Did you have any

11· · sort of side business or any other

12· · employment?

13· · · · A.· · Yes.· I was teaching DOS at the

14· · time, DOS, the computer system.

15· · · · Q.· · Where did you teach DOS?

16· · · · A.· · Central Islip, somewhere in

17· · Central Islip, there was a place in Central

18· · Islip.

19· · · · Q.· · And you did that just to be

20· · making some extra money while you worked at

21· · Air?

22· · · · A.· · Yes.

23· · · · Q.· · Any other outside employment

24· · other than that?

25· · · · A.· · That I can remember, no.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · And what year did you leave Air

·3· · Industries the second time?

·4· · · · A.· · About 2010, give or take.

·5· · · · Q.· · And what was the next place you

·6· · went to work?

·7· · · · A.· · I founded HWZ Distributors.

·8· · · · Q.· · And is it correct that HWZ stood

·9· · for Hoober Wilson Zuluaga?

10· · · · A.· · Correct.

11· · · · Q.· · And is that -- did your brother

12· · Hoober work with HWZ as well?

13· · · · A.· · No.

14· · · · Q.· · Why did you put his name in the

15· · lettering?

16· · · · A.· · He had an interest on it.· He was

17· · an investor interest on it.

18· · · · Q.· · So he was a part owner, but he

19· · didn't work for the company?

20· · · · A.· · Right, he didn't work for the

21· · company.

22· · · · Q.· · Okay.

23· · · · · · · What other -- were there any

24· · other owners other than your brother?

25· · · · A.· · No.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · THE WITNESS:· Can I take a break?

·3· · · · · · · MR. RAYMOND:· Yes, sure.

·4· · · · · · · THE WITNESS:· Now?

·5· · · · · · · MR. RAYMOND:· Oh, sure, yes.

·6· · · · · · · THE VIDEOGRAPHER:· Going off the

·7· · · · record.· The time is 10:54 a.m.

·8· · · · · · · (Recess taken from 10:54 a.m. to

·9· · · · 11:02 a.m.)

10· · · · · · · THE VIDEOGRAPHER:· The time is

11· · · · 11:02 a.m.· We are back on the record.

12· · BY MR. RAYMOND:

13· · · · Q.· · Mr. Zuluaga, just before the

14· · break you mentioned that in around 2010 you

15· · founded HWZ Distributors, is that correct?

16· · · · A.· · Yes.

17· · · · Q.· · And were you and your brother the

18· · owners of that company?

19· · · · A.· · We co-owned it, yes.

20· · · · Q.· · Were there any other owners other

21· · than you and your brother?

22· · · · A.· · No.

23· · · · Q.· · Now, have you ever gone by any,

24· · you personally gone by any names other than

25· · Wilson Zuluaga?


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·1· · · · · · · · · W. Zuluaga

·2· · official capacity of that corporation, only

·3· · Jack.

·4· · · · Q.· · And LatinFoods, what name do you

·5· · use with respect to your involvement with

·6· · LatinFoods?

·7· · · · A.· · I haven't changed the name on

·8· · those documents to Jack Wilson.

·9· · · · Q.· · I'm not just talking about

10· · documents.· I'm talking about generally

11· · with respect to that, any operations of

12· · LatinFoods, do you always use Wilson

13· · Zuluaga or do you sometimes use Jack

14· · Wilson?

15· · · · · · · MR. INGBER:· Objection.· He's

16· · · · asked you to be specific instead of

17· · · · talking about generalities.

18· · · · · · · MR. RAYMOND:· Right.· That's what

19· · · · I'm trying to be.

20· · · · A.· · Such as what?

21· · · · Q.· · In any way.· Have you ever used

22· · the name Jack Wilson in connection with the

23· · business of LatinFoods?

24· · · · A.· · I have a bank account with the

25· · name of Jack Wilson in connection to


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·1· · · · · · · · · W. Zuluaga

·2· · LatinFoods.· So the answer is yes.

·3· · · · Q.· · Okay.

·4· · · · · · · And do you also have bank

·5· · accounts in connection to LatinFoods that

·6· · use the name Wilson Zuluaga?

·7· · · · A.· · I have my old account that I

·8· · never changed the name, yes.

·9· · · · Q.· · Okay.

10· · · · · · · But as you take new actions with

11· · respect to LatinFoods, generally you use

12· · the name Jack Wilson?

13· · · · A.· · Correct.

14· · · · Q.· · Okay.

15· · · · · · · Now, you mentioned earlier the

16· · company HWZ Distributors, Inc.· That

17· · company was established around 2010, you

18· · said, is that correct?

19· · · · A.· · Best of my recollection, yes.

20· · · · Q.· · And what was that company set up

21· · to do, what business were they set up to

22· · do?

23· · · · A.· · Distribution for food products.

24· · · · Q.· · What type of food products?

25· · · · A.· · Perishables and non-perishable


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·1· · · · · · · · · W. Zuluaga

·2· · food products.

·3· · · · Q.· · Can you be more specific?· What

·4· · type of non-perishable food products?

·5· · · · A.· · We used to distribute panela,

·6· · which is that hard brown sugar.

·7· · Guava-based snacks.· Beverages.

·8· · · · Q.· · Anything else?

·9· · · · A.· · There's probably more, I just

10· · don't remember.

11· · · · Q.· · How about meat products, any of

12· · those?

13· · · · A.· · Yes, I believe so.

14· · · · Q.· · What kind of meat products?

15· · · · A.· · Sausages.

16· · · · Q.· · Anything else?

17· · · · A.· · I'm probably leaving out some.           I

18· · don't remember.

19· · · · Q.· · And what kind of sausages did HWZ

20· · Distributors --

21· · · · A.· · At the time, I believe we

22· · distributed raw sausages.

23· · · · Q.· · And did any of those sausages

24· · have a Spanish name?

25· · · · A.· · Chorizo, yes.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Any name other than Chorizo used

·3· · by HWZ for any of its meat products?

·4· · · · A.· · Such as?

·5· · · · Q.· · Any.

·6· · · · A.· · For the sausages?

·7· · · · Q.· · For any meat products.

·8· · · · A.· · I don't remember.· I don't know

·9· · exactly what you're asking.

10· · · · Q.· · You use the word Chorizo.· What

11· · is the English translation of Chorizo?

12· · · · A.· · It's a meat sausage.

13· · · · Q.· · Okay.

14· · · · · · · And are there other types of meat

15· · sausages other than Chorizo?

16· · · · A.· · That were distributed by HWZ?

17· · · · Q.· · Well, in general, are there other

18· · types that you're aware of?· We'll get to

19· · HWZ in a moment, but...

20· · · · A.· · Blood sausages, Morcilla,

21· · M-O-R-C-I-L-L-A.

22· · · · Q.· · Any other ones?

23· · · · A.· · I don't know.· I might be leaving

24· · some out.

25· · · · Q.· · How about salchicha?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · That's like a flank, like a hot

·3· · dog.

·4· · · · Q.· · Is a salchicha, is it a Chorizo,

·5· · is it a type of Chorizo or is it a

·6· · different thing?

·7· · · · A.· · My understanding is that it's not

·8· · considered a Chorizo.

·9· · · · Q.· · Okay.

10· · · · · · · So other than Chorizo and

11· · salchicha, is there any other type of

12· · sausage meat products that you're aware of?

13· · · · A.· · Morcilla, I just said.

14· · · · Q.· · Sorry, right, Morcilla.

15· · · · · · · Any other ones?

16· · · · A.· · No others come to mind right now.

17· · · · Q.· · Okay.

18· · · · · · · Were there any other ones that

19· · were distributed by HWZ, to your knowledge?

20· · · · A.· · At the time, I don't think so.

21· · The best that I can remember, that was

22· · primarily Chorizo.

23· · · · Q.· · And where did HWZ distribute its

24· · products?

25· · · · A.· · New York.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Only in New York?

·3· · · · A.· · Well, the tri-state area, New

·4· · York, New Jersey and Connecticut.

·5· · · · Q.· · Was there a type of consumer that

·6· · HWZ targeted for its products?

·7· · · · A.· · Generally speaking, Hispanics.

·8· · · · Q.· · And how long was HWZ in -- how

·9· · long was it in existence?

10· · · · A.· · I believe somewhere around four

11· · years or so, three to four years.

12· · · · Q.· · So it existed from 2010 to 2014,

13· · somewhere in that --

14· · · · A.· · That sounds about right.

15· · · · Q.· · Okay.

16· · · · · · · And you said that you and your

17· · brother were owners, but your brother

18· · didn't work there.· How many employees were

19· · there other than yourself?

20· · · · A.· · Various, various types.

21· · · · Q.· · And did your brother ever work at

22· · the company through that four-year period?

23· · · · A.· · No.

24· · · · Q.· · And why was the company dissolved

25· · in or around 2014?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · At the time it was dissolved --

·3· · there is a word -- insolvency, I believe it

·4· · is.

·5· · · · Q.· · So the company became insolvent?

·6· · · · A.· · Right, the company became

·7· · insolvent.

·8· · · · Q.· · And where did HWZ -- did HWZ

·9· · manufacture the products it sold?

10· · · · A.· · No.

11· · · · Q.· · Where did it get the products

12· · that it sold?

13· · · · A.· · Which products?

14· · · · Q.· · The meat products, where did it

15· · get the meat products?

16· · · · A.· · The sausages we purchased at a

17· · local butcher shop.

18· · · · Q.· · And that was in New York,

19· · somewhere in New York?

20· · · · A.· · Yes, Long Island.

21· · · · Q.· · Was that around Farmingdale?

22· · · · A.· · No.

23· · · · Q.· · Where in Long Island?

24· · · · A.· · Freeport, if I remember

25· · correctly.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · And where did it obtain the other

·3· · products that it sold?

·4· · · · A.· · Which products?

·5· · · · Q.· · Well, the ones you mentioned,

·6· · panela, guava-based --

·7· · · · A.· · The panela came from Florida.

·8· · The guava-based snacks -- a lot of them

·9· · initially came in from Florida.

10· · · · Q.· · Okay.

11· · · · · · · And it became insolvent because

12· · the business didn't go well, is that -- or

13· · was this a -- strike that.

14· · · · · · · How did the company become

15· · insolvent?

16· · · · A.· · The business didn't produce, it

17· · didn't go well.

18· · · · Q.· · And during that period of 2010 to

19· · 2014 were you involved with any other

20· · companies?

21· · · · A.· · That I can remember, no.· Hold

22· · on, I worked -- sorry, strike that.          I

23· · worked part-time at a small company called

24· · Copy Machine for a short period of time.

25· · · · Q.· · So from the period 2010 to 2014,


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·1· · · · · · · · · W. Zuluaga

·2· · was HWZ the only company you were involved

·3· · with which distributed meat products?

·4· · · · A.· · On 2013, I started or I founded

·5· · LatinFood.· So from 2013 on, I was involved

·6· · in LatinFood U.S. Corp.

·7· · · · Q.· · So for some period of time you

·8· · had both companies in operation,

·9· · LatinFood --

10· · · · A.· · No, from 2013 on, the company HWZ

11· · was winding down, we were filing for a

12· · provision to close and so on and so forth.

13· · · · Q.· · Okay.

14· · · · · · · And again, in that period 2010 to

15· · 2014, were there any other food

16· · distribution companies you were involved

17· · with other than HWZ and LatinFood?

18· · · · A.· · That I can remember, no.

19· · · · Q.· · What about Zenu Products U.S.,

20· · Inc., did that exist during that period of

21· · time?

22· · · · A.· · No.

23· · · · Q.· · Are you aware of that name?

24· · · · A.· · I'm sorry, Zenu Products what?

25· · · · Q.· · Zenu Products U.S., Inc.?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · That sounds like my d/b/a.· It

·3· · doesn't ring a bell other than that.

·4· · · · Q.· · All right.

·5· · · · · · · So again, so from 2010 to 2014,

·6· · you were involved with HWZ and

·7· · LatinFoods -- or LatinFood.· Was there any

·8· · other company that you can recall during

·9· · that period of time that you were involved

10· · with that distributed meat products?

11· · · · A.· · That I can remember, no.

12· · · · Q.· · Okay.

13· · · · · · · Did HWZ ever distribute any

14· · products using the name Zenu?

15· · · · A.· · Not to my knowledge.

16· · · · Q.· · Did HWZ ever distribute any

17· · products using the name Ranchera?

18· · · · A.· · No, I beg your pardon.· HWZ, when

19· · you say using the name, using the name as

20· · the business name or the brand?

21· · · · Q.· · Well, my question was did HWZ

22· · distribute any products that used the name

23· · Zenu?

24· · · · A.· · Yes.

25· · · · Q.· · When did it do that?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · We began, or I began working with

·3· · those products early 2011 that I can

·4· · recall.

·5· · · · Q.· · The question is did HWZ ever

·6· · distribute or sell any product using the

·7· · name Zenu?

·8· · · · A.· · Yes.

·9· · · · Q.· · And what product is that?

10· · · · A.· · Chorizo.

11· · · · Q.· · Okay.

12· · · · · · · And when did HWZ first distribute

13· · a product using -- just first use --

14· · distribute a Chorizo using the name Zenu?

15· · · · A.· · 2011.

16· · · · Q.· · What else can you tell me about

17· · that product?

18· · · · A.· · What else would you like to know?

19· · · · Q.· · What was it?

20· · · · A.· · Chorizo sausage.

21· · · · Q.· · You used the name Zenu?

22· · · · A.· · Correct.

23· · · · Q.· · Was that on the packaging?

24· · · · A.· · Yes.

25· · · · Q.· · Do you have any photographs of


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·1· · · · · · · · · W. Zuluaga

·2· · that?

·3· · · · A.· · I don't think so.

·4· · · · Q.· · Do you have any copies of the

·5· · packaging?

·6· · · · A.· · Not at this point, I don't.

·7· · · · Q.· · Okay.

·8· · · · · · · And how much of that did you

·9· · sell?

10· · · · A.· · I don't remember.

11· · · · Q.· · Did you sell any of them?

12· · · · A.· · Any of them, yes.

13· · · · Q.· · Okay.

14· · · · · · · And to whom did you sell, did HWZ

15· · sell the Zenu Chorizo?

16· · · · A.· · Some bakeries, restaurants

17· · mostly.

18· · · · Q.· · And could you give me the name of

19· · those bakeries or restaurants?

20· · · · A.· · I don't remember.

21· · · · Q.· · Can you give me the name of any

22· · one of them?

23· · · · A.· · I don't remember at this point.

24· · · · Q.· · You can't remember a single one

25· · that you sold these products to?


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. INGBER:· Objection.· Asked

·3· · · · and answered.

·4· · · · A.· · Correct.

·5· · · · Q.· · How many did you sell?

·6· · · · A.· · I don't know.

·7· · · · Q.· · How much money did you make

·8· · selling the Zenu Chorizo?

·9· · · · A.· · I don't have any numbers in front

10· · of me.

11· · · · Q.· · Okay.

12· · · · A.· · I don't remember.

13· · · · Q.· · Are you aware of any document

14· · anywhere that would support your claim that

15· · you sold Zenu-branded Chorizo through HWZ

16· · in 2011?

17· · · · A.· · I don't have anything in front of

18· · me that would say that, so I don't know.

19· · · · Q.· · I'm asking you if you're aware of

20· · any document anywhere, not in front of you,

21· · anywhere, that shows that HWZ sold a Zenu

22· · Chorizo to anyone?

23· · · · A.· · Not that I'm aware of right now.

24· · · · Q.· · You keep saying "right now."· I'm

25· · asking you, do you know of any?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · No, I don't.

·3· · · · Q.· · And where are the records of HWZ?

·4· · · · A.· · Which type of records?

·5· · · · Q.· · Any records.

·6· · · · A.· · Which, the financial records?

·7· · · · Q.· · Any records, any of those or

·8· · anything else?

·9· · · · A.· · I'll have to search.· Right now,

10· · I don't know.· I wasn't prepared to answer

11· · that question.

12· · · · Q.· · Are you aware, sitting here

13· · today, of the location of any documents

14· · that relate to HWZ's sale of Zenu-branded

15· · Chorizo?

16· · · · A.· · I have possible locations, but

17· · I'd have to search.

18· · · · Q.· · You have possible locations.· But

19· · I'm saying are you aware, sitting here

20· · today, of any actual documents that support

21· · your claim that HWZ sold Zenu-branded

22· · Chorizo in 2011?

23· · · · · · · MR. INGBER:· Objection.· Asked

24· · · · and answered in many different

25· · · · formats.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. RAYMOND:· I don't think so.

·3· · · · A.· · No.

·4· · · · Q.· · And in the trademark application

·5· · in which LatinFood filed for the Zenu

·6· · brand, you stated that the first use of

·7· · that trademark was in 2011.

·8· · · · · · · Is it this use that you're

·9· · referring to, the alleged sale by HWZ?

10· · · · A.· · Yes.

11· · · · Q.· · Was there any sale by LatinFood

12· · in 2011 that you're aware of?

13· · · · A.· · LatinFood didn't exist at the

14· · time.· This LatinFood you're referring to,

15· · my company today, was not incorporated in

16· · 2011.

17· · · · Q.· · Okay.

18· · · · · · · Just so we're clear, the sale

19· · you're referring to in that trademark

20· · application that -- sorry, the first use

21· · that you claimed in that trademark

22· · application in 2011, was this sale or sales

23· · that you've referred to by HWZ?

24· · · · A.· · Yes.

25· · · · Q.· · Okay.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · And the brand name Ranchera, was

·3· · that ever used by HWZ?

·4· · · · A.· · Yes.

·5· · · · Q.· · And what did HWZ sell with the

·6· · Ranchera name on it?

·7· · · · A.· · At the time we, I began to sell

·8· · smoked sausages.

·9· · · · Q.· · When was that?· When was the

10· · first such sale?

11· · · · A.· · Best that I can recall somewhere

12· · around a year after, so probably 2012.

13· · · · Q.· · And was it HWZ that did those

14· · sales?

15· · · · A.· · Yes.

16· · · · Q.· · So around 2012, HWZ sold sausages

17· · using the Ranchera brand name, is that

18· · correct?

19· · · · A.· · Correct.

20· · · · Q.· · And can you tell me where there

21· · are any records that might support that

22· · allegation?

23· · · · A.· · No.

24· · · · Q.· · Now, you said that HWZ became

25· · insolvent, correct?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · That's why we closed it, yes.

·3· · · · Q.· · And was there a bankruptcy

·4· · proceeding filed?

·5· · · · A.· · No.

·6· · · · Q.· · Was there any type of state

·7· · insolvency proceeding filed?

·8· · · · A.· · I don't understand "state

·9· · insolvency."· What do you mean by that?

10· · · · Q.· · Was anything filed with the State

11· · of New York saying that the company had

12· · been insolvent?

13· · · · A.· · Yes.

14· · · · Q.· · And it was in New York where you

15· · did that?

16· · · · A.· · Correct.

17· · · · Q.· · Okay.

18· · · · · · · Was any type of trustee or other

19· · person appointed to watch over the

20· · insolvency of the company?

21· · · · A.· · No.

22· · · · Q.· · Were you in charge of the

23· · insolvency?

24· · · · A.· · I was in charge of the company.

25· · · · Q.· · But is it correct that no one


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·1· · · · · · · · · W. Zuluaga

·2· · else?

·3· · · · A.· · Explore.· As I remember, that's

·4· · mostly it.

·5· · · · Q.· · And the meat products that were

·6· · sold by HWZ, did you intend to distribute

·7· · the same sort of meat products through

·8· · LatinFood?

·9· · · · A.· · Yes.

10· · · · Q.· · And were there any additional

11· · meat products you planned to have LatinFood

12· · distribute?

13· · · · A.· · Yes.

14· · · · Q.· · What were the additional ones?

15· · · · A.· · Salamis, ham, Mortadella which is

16· · a Spanish round ham -- there might be some

17· · others.

18· · · · Q.· · Were there any other sausage

19· · products you intended to have LatinFood

20· · distribute?

21· · · · A.· · Yes.

22· · · · Q.· · What kind of sausage products?

23· · · · A.· · Chorizo, Mexican, Argentinian,

24· · Colombian, Salvadorian, Ecuadorian.

25· · · · Q.· · So you wanted to expand the list


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·1· · · · · · · · · W. Zuluaga

·2· · of Chorizo that HWZ had distributed?

·3· · · · A.· · Yes.

·4· · · · Q.· · And did you have the same sort of

·5· · target audience, if you will, or target

·6· · consumers, the Hispanic community?

·7· · · · A.· · I wanted to expand customer base

·8· · as well.

·9· · · · Q.· · And expanding it to what?

10· · · · A.· · To include additional, you know,

11· · primarily Hispanics, but I also wanted to

12· · expand from that base.

13· · · · Q.· · And when you say "Hispanic," did

14· · you include in that group people who had

15· · come from these various South American

16· · countries?

17· · · · A.· · Well, that would be the

18· · Hispanics.

19· · · · Q.· · Right.

20· · · · A.· · Right.

21· · · · Q.· · But did Hispanics include people

22· · who had lived in South America and moved to

23· · the U.S. or was it next generation?

24· · · · A.· · I don't have a strategic plan for

25· · that, just generally Hispanic community.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Okay.

·3· · · · · · · I guess what I'm asking is, did

·4· · the Hispanic community you were targeting

·5· · include people who had come from various

·6· · South American countries and moved to the

·7· · United States?

·8· · · · A.· · I don't know if they came from or

·9· · where they came from.

10· · · · Q.· · Over the years, were you aware

11· · that some of the customers of LatinFood

12· · products were people who had come from

13· · South America countries and moved to the

14· · United States?· Were those included in your

15· · customer base?

16· · · · A.· · I targeted and was aware that my

17· · customer base was significantly Hispanic.

18· · Where they came from or how they come

19· · about, I'm not particularly aware of.

20· · · · Q.· · Okay.

21· · · · · · · Now, we spoke a little bit

22· · earlier about the entity Zenu Products

23· · U.S., Inc.· I think you said you thought

24· · that might be a d/b/a.

25· · · · · · · Do you recall anything further


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · At what point did I stop my

·3· · involvement with -- I was never really

·4· · involved with the bakery.· Running was my

·5· · brother running it.· I never --

·6· · · · Q.· · Okay.

·7· · · · A.· · I was never involved in running

·8· · the bakery.

·9· · · · Q.· · Were you an owner at any time of

10· · the bakery?

11· · · · A.· · Yes.

12· · · · Q.· · And are you still an owner?

13· · · · A.· · No.

14· · · · Q.· · At what point did you stop being

15· · an owner?

16· · · · A.· · I believe it was around 2010 -- I

17· · don't remember.· I don't want to speculate.

18· · I'm sorry.

19· · · · Q.· · And to your knowledge, is your

20· · brother still running the bakery?

21· · · · A.· · I don't know.

22· · · · Q.· · Do you speak to your brother

23· · regularly?

24· · · · A.· · No.

25· · · · Q.· · Do you speak to him at all?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Almost never.

·3· · · · Q.· · Did you have a falling out with

·4· · your brother?

·5· · · · A.· · With his wife.

·6· · · · Q.· · And when, approximately, did that

·7· · happen?

·8· · · · A.· · I don't remember specifically

·9· · when that happened.· It was just something

10· · that developed.

11· · · · Q.· · Was that prior to 2013?

12· · · · A.· · Yes.

13· · · · Q.· · And did you transfer your

14· · ownership interest in the bakery to your

15· · brother?

16· · · · A.· · Yes.

17· · · · Q.· · Did he pay you for it?

18· · · · A.· · Yes.

19· · · · Q.· · And at the time that you were

20· · still an owner, did the bakery sell

21· · products to the Hispanic community as well?

22· · · · A.· · That was a Hispanic bakery.

23· · · · Q.· · And did it sell products that

24· · came from South American countries?

25· · · · A.· · At some point, yes, some


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·1· · · · · · · · · W. Zuluaga

·2· · products.

·3· · · · Q.· · Okay.

·4· · · · · · · Would that include Colombian

·5· · products?

·6· · · · A.· · Yes.

·7· · · · Q.· · Are you familiar with a company

·8· · named Two Way Solutions?

·9· · · · A.· · Yes.

10· · · · Q.· · And what is that company?

11· · · · A.· · That company is one of my

12· · suppliers in Colombia.

13· · · · Q.· · When you say your supplier, you

14· · mean LatinFood's supplier?

15· · · · A.· · Correct.

16· · · · Q.· · And what does Two Way Solutions

17· · provide to LatinFoods?

18· · · · A.· · Beverages, snacks, other various

19· · products.

20· · · · · · · THE WITNESS:· I'm sorry, may we

21· · · · stop for a quick two minutes?

22· · · · · · · MR. RAYMOND:· Yes.

23· · · · · · · THE VIDEOGRAPHER:· Going off the

24· · · · record.· The time is 12:02 p.m.

25· · · · · · · (Recess taken from 12:02 p.m. to


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·1· · · · · · · · · W. Zuluaga

·2· · it was called, supply goods to HWZ before

·3· · LatinFoods?

·4· · · · A.· · Yes.

·5· · · · Q.· · And did it supply the same types

·6· · of products that it now supplies to

·7· · LatinFood?

·8· · · · A.· · Generally speaking, yes.

·9· · · · Q.· · Was there any legal relationship

10· · between the U.S. HWZ and the Colombian HWZ?

11· · · · A.· · No.

12· · · · Q.· · Have you ever heard of the

13· · company Un Solo Provodor?

14· · · · A.· · I don't know.· I don't remember.

15· · · · Q.· · You've never heard that name?

16· · · · A.· · I might have.· It just doesn't

17· · ring a bell.

18· · · · Q.· · So you're not aware of LatinFoods

19· · ever ordering any products from a company

20· · with that name?

21· · · · A.· · I don't remember specifically.

22· · No, I don't remember.

23· · · · Q.· · Okay.

24· · · · · · · Now you stated that LatinFoods

25· · came into existence in around 2013.· Was it


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·1· · · · · · · · · W. Zuluaga

·2· · incorporated in that year, to your

·3· · knowledge?

·4· · · · A.· · Yes.

·5· · · · Q.· · And you're the sole owner -- have

·6· · you been the sole owner since its

·7· · inception?

·8· · · · A.· · Yes.

·9· · · · Q.· · Okay.

10· · · · · · · And today what kind of

11· · products -- what products does it sell?

12· · · · A.· · Which company?

13· · · · Q.· · LatinFood.

14· · · · A.· · We just went through this.· I get

15· · panela, snacks, other groceries, meat

16· · products, flour, corn.

17· · · · Q.· · And approximately how many

18· · employees does the company have today?

19· · · · A.· · Including myself, six.

20· · · · Q.· · Now, you stated a little while

21· · ago that one of the things you were

22· · considering in establishing LatinFoods was

23· · to start to manufacture some products.

24· · · · · · · Has LatinFoods -- does LatinFoods

25· · manufacture any products today?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · No.

·3· · · · Q.· · Okay.

·4· · · · · · · Do you still intend to turn it

·5· · into a manufacturer at some point?

·6· · · · A.· · That's one of my plans, yes.

·7· · · · Q.· · Okay.

·8· · · · · · · But as of today, you still just

·9· · distribute products manufactured by others?

10· · · · A.· · Correct.

11· · · · Q.· · And do you actually retain

12· · companies to manufacture products for

13· · LatinFoods?

14· · · · A.· · Yes.

15· · · · Q.· · And how many companies actually

16· · manufacture products for LatinFood?

17· · · · A.· · Can you be a little more

18· · specific, please?

19· · · · Q.· · How many companies manufacture

20· · product for LatinFoods to distribute?

21· · · · A.· · Here in the United States?

22· · · · Q.· · Yes.

23· · · · A.· · A handful, four, five perhaps,

24· · six.

25· · · · Q.· · Okay.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · And Cibao Meats is one of those

·3· · companies?

·4· · · · A.· · Yes.

·5· · · · Q.· · What does Cibao Meats manufacture

·6· · for LatinFood?

·7· · · · A.· · Today, they manufacture salamis.

·8· · · · Q.· · And did they previously

·9· · manufacture anything other than salamis?

10· · · · A.· · Yes.

11· · · · Q.· · What was that?

12· · · · A.· · Sausages.

13· · · · Q.· · When did they stop manufacturing

14· · sausage for LatinFood?

15· · · · A.· · I don't remember when.· It was a

16· · short period of time.· They manufactured it

17· · for a short period of time.

18· · · · Q.· · Okay.

19· · · · · · · And why did they stop

20· · manufacturing sausages for LatinFood?

21· · · · A.· · I found another manufacturer.

22· · · · Q.· · What manufacturer was that?

23· · · · A.· · Arnold's Meat.

24· · · · Q.· · And where are they located?

25· · · · A.· · They have a location in


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·1· · · · · · · · · W. Zuluaga

·2· · Pennsylvania and they have a location in

·3· · Brooklyn.

·4· · · · Q.· · And does LatinFood distribute

·5· · products using the Zenu -- or Zenu and

·6· · Ranchera brands?

·7· · · · A.· · Yes.

·8· · · · Q.· · When did you first decide to use

·9· · the Zenu brand?

10· · · · A.· · I want to say early 2011.

11· · · · Q.· · And how did that come about?

12· · · · A.· · How did what come about, the

13· · decision to use it?

14· · · · Q.· · Yes, how did it come about that

15· · you decided to use the name Zenu?

16· · · · A.· · I wanted to distribute brands

17· · that I owned.· So I wanted to come up with

18· · a name for the meat products that were sold

19· · and distributed.

20· · · · Q.· · And how did you go about deciding

21· · to use that particular word Zenu?

22· · · · A.· · I came to different gyrations of

23· · my last name and some of my family's

24· · relatives' names.

25· · · · Q.· · By your family name, you mean the


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·1· · · · · · · · · W. Zuluaga

·2· · name Zuluaga?

·3· · · · A.· · Zuluaga and I took into

·4· · consideration some others at the time --

·5· · but yes.

·6· · · · Q.· · Some other names?

·7· · · · A.· · Zuluaga, yes.

·8· · · · Q.· · And that was in early 2011 when

·9· · you first came up with that idea?

10· · · · A.· · I don't know when I came up with

11· · the idea.· It was late 2010, early 2011.

12· · · · Q.· · Okay.

13· · · · · · · And is it your testimony that at

14· · that point in time you had never heard of

15· · Industria's Zenu brand?

16· · · · A.· · Correct.

17· · · · Q.· · And you had never seen an

18· · advertisement as of 2011 for Industria's

19· · Zenu brand?

20· · · · A.· · Not that I can remember, no.

21· · · · Q.· · And you had never seen an

22· · Industria Zenu-branded product in a store

23· · in Colombia or elsewhere?

24· · · · A.· · Not that I can remember.

25· · · · · · · MR. RAYMOND:· I'm going to ask


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·1· · · · · · · · · W. Zuluaga

·2· · · · the reporter to mark as Exhibit 10 a

·3· · · · trademark application for Zenu.

·4· · · · · · · (Plaintiff's Exhibit 10,

·5· · · · Trademark application, marked for

·6· · · · identification, as of this date.)

·7· · BY MR. RAYMOND:

·8· · · · Q.· · Have you seen this document

·9· · before?

10· · · · A.· · Yes.

11· · · · Q.· · And is this a printout of the

12· · trademark application filed on your behalf

13· · for Zenu mark?

14· · · · A.· · It appears to be.

15· · · · Q.· · And if you turn in a few pages,

16· · there are a couple of photos of specimens

17· · of Zenu mark.

18· · · · · · · Do you see those?

19· · · · A.· · Yes.

20· · · · Q.· · Okay.

21· · · · · · · And were those specimens filed

22· · with this application?

23· · · · A.· · Not to my knowledge.· This is not

24· · my specimen.

25· · · · Q.· · Did you file specimens with your


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·1· · · · · · · · · W. Zuluaga

·2· · application?

·3· · · · A.· · USTM filed the application on my

·4· · behalf.· I hired them to handle all the

·5· · registration process.

·6· · · · Q.· · Okay.

·7· · · · · · · But you saw the application

·8· · before it was submitted, did you not?

·9· · · · A.· · I did not.

10· · · · Q.· · And you're aware that this

11· · application as specimens pictures of my

12· · client's products, is that correct?

13· · · · A.· · I became aware through the course

14· · of this process.

15· · · · Q.· · But you are aware now that this

16· · application was filed with photographs of

17· · my client's Zenu products, is that correct?

18· · · · A.· · That is correct.

19· · · · Q.· · Okay.

20· · · · · · · And, in fact, there were no

21· · products in existence from LatinFoods

22· · certainly in using the Zenu mark at that

23· · time, is that correct?

24· · · · A.· · That is incorrect.

25· · · · Q.· · Okay.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · You're saying that LatinFood had

·3· · sold products using Zenu trademark in 2013?

·4· · · · A.· · Yes.

·5· · · · Q.· · Okay.

·6· · · · · · · When did they first sell such a

·7· · product?

·8· · · · A.· · LatinFood or HWZ?

·9· · · · Q.· · Well, let's start with LatinFood.

10· · · · · · · MR. INGBER:· Well, this is an

11· · · · HWZ --

12· · · · · · · MR. RAYMOND:· Let him answer the

13· · · · question.

14· · · · · · · MR. INGBER:· This is an HWZ

15· · · · application.

16· · · · · · · MR. RAYMOND:· Understood, but he

17· · · · said that LatinFood had sold products

18· · · · with Zenu.· I'm asking about that.

19· · · · A.· · 2013, when it incorporated.

20· · · · Q.· · LatinFood started to sell

21· · products with the Zenu nail?

22· · · · A.· · Yes.

23· · · · Q.· · And if there were such product,

24· · why were those not used as samples for this

25· · application?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · I learned later on that USTM

·3· · didn't file the correct specimens with the

·4· · application.· I provided the right

·5· · specimens.· They didn't use them.

·6· · · · Q.· · And have you ever produced those

·7· · specimens in this litigation?

·8· · · · A.· · Say the question again?

·9· · · · Q.· · Have you ever produced those

10· · specimens in this litigation?

11· · · · A.· · These specimens, no.

12· · · · Q.· · And was this trademark

13· · application granted, to your knowledge?

14· · · · A.· · To my knowledge, yes.

15· · · · Q.· · And do you know was it granted in

16· · September of 2013?

17· · · · A.· · I believe it was.

18· · · · Q.· · Okay.

19· · · · · · · Now, you have seen the Industria

20· · Zenu trademark, correct, today?

21· · · · A.· · Yes.

22· · · · Q.· · Okay.

23· · · · · · · So you're aware of Zenu's

24· · trademark -- or Zenu's brand, we'll call it

25· · that.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. INGBER:· Can you specify in

·3· · · · the U.S. or what geography location?

·4· · BY MR. RAYMOND:

·5· · · · Q.· · Have you ever seen -- you've seen

·6· · Zenu's branded products by today, correct?

·7· · · · A.· · No.

·8· · · · Q.· · You've never seen a Zenu product?

·9· · · · A.· · Products, no.

10· · · · Q.· · Have you ever seen the Zenu brand

11· · name?

12· · · · A.· · Yes.

13· · · · Q.· · Okay.

14· · · · · · · And would you agree that the Zenu

15· · brand name is identical to the Zenu brand

16· · name that you trademarked?

17· · · · A.· · That is not my specimen.

18· · · · Q.· · I'm not talking about the

19· · specimen.· Forget the specimen.

20· · · · · · · Sitting here today, would you

21· · agree that your Zenu product, what you

22· · claim to be your Zenu trademark, is

23· · identical to the Zenu brand that Industria

24· · uses?

25· · · · · · · MR. INGBER:· Do you have a --


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·1· · · · · · · · · W. Zuluaga

·2· · BY MR. RAYMOND:

·3· · · · Q.· · You never got a registration at

·4· · any time using that mark?

·5· · · · A.· · You said first "logo" and then

·6· · you say "mark."· So please specify which is

·7· · it, did I get it on this logo or on --

·8· · · · Q.· · Okay, you want to call this a

·9· · logo.

10· · · · · · · Did you ever get a registration

11· · on this logo?

12· · · · A.· · No.

13· · · · Q.· · Never?

14· · · · A.· · No.

15· · · · Q.· · Okay.

16· · · · · · · What Zenu mark did you get a

17· · registration in?

18· · · · A.· · On my brand, on the word,

19· · Z-E-N-U, the word.

20· · · · Q.· · Okay.

21· · · · · · · Have you used this logo?

22· · · · A.· · Yes.

23· · · · Q.· · In connection with a sale?

24· · · · A.· · Yes.

25· · · · Q.· · Right.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · And it's your testimony that you

·3· · came up with this logo on your own,

·4· · correct?

·5· · · · A.· · Yes.

·6· · · · Q.· · Okay.

·7· · · · · · · So it's your testimony that it is

·8· · just an incredible coincidence that you

·9· · came up with exactly the same logo that

10· · Industria has used for 50 years in

11· · Colombia?· Is that your testimony?

12· · · · A.· · It's not the same logo.

13· · · · Q.· · Are these two the same or not?

14· · · · A.· · They're not the same.· There's

15· · differences between them.

16· · · · Q.· · Okay, there are differences

17· · between them.· What are the differences

18· · between them?

19· · · · A.· · The angle is different.· The

20· · thing over the U is different.· The

21· · underline is different.· They appear to use

22· · the same font, but that's a very regular

23· · font.

24· · · · Q.· · Okay.

25· · · · · · · You say they're different.· So my


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·1· · · · · · · · · W. Zuluaga

·2· · question still is -- my question still is

·3· · that it is your testimony under oath,

·4· · sitting here today, that the similarities

·5· · between these two are a complete

·6· · coincidence, is that correct?

·7· · · · · · · MR. INGBER:· Objection.· There's

·8· · · · no question.· What's the question?

·9· · · · · · · MR. RAYMOND:· Read it back.

10· · · · · · · (The requested portion was read

11· · · · back by the Court Reporter.)

12· · · · · · · MR. INGBER:· Objection.

13· · · · Argumentative also.

14· · BY MR. RAYMOND:

15· · · · Q.· · Is it your testimony that the

16· · similarities between these two logos are a

17· · complete coincidence?

18· · · · A.· · I don't know.· I came up with the

19· · logo based on what I came up with the logo.

20· · Whether it's a coincidence or not, I don't

21· · know.

22· · · · Q.· · Okay.

23· · · · · · · But it is your testimony under

24· · oath, sitting here today, that you had

25· · never seen the Industria Zenu logo at the


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·1· · · · · · · · · W. Zuluaga

·2· · time that you designed your Zenu logo, is

·3· · that correct?

·4· · · · A.· · That is incorrect.

·5· · · · Q.· · That what?

·6· · · · A.· · Incorrect.

·7· · · · Q.· · It's incorrect?· So you had seen

·8· · the Industria Zenu logo before you came up

·9· · with your Zenu logo?

10· · · · A.· · Yes.

11· · · · Q.· · And where had you seen the

12· · Industria Zenu logo?

13· · · · A.· · Probably on the net, internet.

14· · · · Q.· · Okay.

15· · · · · · · So, therefore, you copied the

16· · Zenu logo, is that correct?

17· · · · · · · MR. INGBER:· Objection.

18· · · · That's --

19· · · · · · · MR. RAYMOND:· Stop testifying.

20· · · · Object or not objection.

21· · · · · · · MR. INGBER:· You didn't let me

22· · · · finish my objection.· There's a lack

23· · · · of foundation to everything you're

24· · · · saying here.

25· · · · · · · MR. RAYMOND:· Good.· Good.


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · I did not copy it, no.

·3· · · · Q.· · So again, it is coincidence that

·4· · your logo came out exactly the same as the

·5· · Industria Zenu logo?

·6· · · · · · · MR. INGBER:· Objection.· The same

·7· · · · type of argumentative questions.

·8· · · · They've been asked a number of times.

·9· · · · · · · MR. RAYMOND:· You're interfering

10· · · · with this deposition.

11· · · · · · · MR. INGBER:· No, you're asking

12· · · · the same question.

13· · · · · · · MR. RAYMOND:· You either direct

14· · · · him not to answer or object to the

15· · · · form.· That's what you're allowed to

16· · · · do.

17· · · · · · · MR. INGBER:· I am objecting as to

18· · · · form.· All my objections are limited

19· · · · to form.

20· · BY MR. RAYMOND:

21· · · · Q.· · All right.

22· · · · · · · So you had seen -- you had seen

23· · Industria's Zenu logo before you created

24· · yours?

25· · · · A.· · The logo.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · You had seen the logo, yes?

·3· · · · A.· · Yes.

·4· · · · Q.· · Okay.

·5· · · · · · · Previously in responses to

·6· · interrogatories and other things in this

·7· · case, you claimed that you had never seen

·8· · it before, but now you're claiming --

·9· · · · A.· · But --

10· · · · Q.· · Let me finish -- now you're

11· · admitting that you had seen the Industria's

12· · Zenu logo before you came up with your Zenu

13· · logo?

14· · · · · · · MR. INGBER:· Objection.· Assuming

15· · · · facts not in evidence.

16· · BY MR. RAYMOND:

17· · · · Q.· · Is that correct?· Is that your

18· · testimony today?

19· · · · A.· · I don't know what you're saying

20· · about what I testified to before, but had I

21· · seen the logo when I came up with my logo?

22· · Yes.

23· · · · Q.· · But it's your testimony that even

24· · though you had seen the Industria Zenu

25· · logo, the one you came up with is not a


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·1· · · · · · · · · W. Zuluaga

·2· · copy of that, is that correct?

·3· · · · A.· · It's not a copy.· It's not an

·4· · exact copy, no.

·5· · · · Q.· · It's not an exact copy, but it's

·6· · substantially similar, is it not?

·7· · · · A.· · I don't think so.· It's not my

·8· · opinion.

·9· · · · Q.· · Well, they're both in red, right?

10· · You both use it in red, is that correct?

11· · · · A.· · Correct.

12· · · · Q.· · And they both have a large Z and

13· · then a smaller E-N-U, is that correct?

14· · · · A.· · It's a cap Z and lower case,

15· · correct.

16· · · · Q.· · And they both have an underlining

17· · only under the E-N-U, is that correct?

18· · · · A.· · Correct.

19· · · · Q.· · And they both have an accent

20· · going up only on the U, is that correct?

21· · · · A.· · Correct.

22· · · · Q.· · And they are both at exactly the

23· · same angle moving up from left to right, is

24· · that correct?

25· · · · A.· · No, that's not correct.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · They don't both have an angle

·3· · going up from left to right?

·4· · · · A.· · I don't see that here as being

·5· · the same, no.

·6· · · · Q.· · You don't see that in Exhibit 11?

·7· · What, you think one of these is flat or --

·8· · · · A.· · Yes, actually.

·9· · · · Q.· · Okay.

10· · · · · · · So isn't it correct then that you

11· · essentially copied my client's Zenu logo?

12· · · · A.· · No.

13· · · · Q.· · How -- only because of the --

14· · okay.

15· · · · · · · What is not copied?· What part of

16· · your logo is not copied from Industria's

17· · Zenu logo?

18· · · · A.· · I have a different angle.· I have

19· · a different accent over the U.· And the

20· · line under it is actually different.

21· · · · Q.· · Okay.

22· · · · · · · Those are the only differences?

23· · · · A.· · As I can tell from here from this

24· · point, yes.

25· · · · Q.· · And were you concerned when you


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·1· · · · · · · · · W. Zuluaga

·2· · filed the trademark registration and made

·3· · use of a logo that was extremely similar,

·4· · if not identical, to one that had been used

·5· · for many, many years by Industria in

·6· · Colombia?

·7· · · · A.· · When I filed the trademark

·8· · registration, I had not seen this logo.

·9· · · · Q.· · You just said you had seen this

10· · logo before you came up with your design of

11· · Zenu.

12· · · · A.· · I did.· You're asking two

13· · different questions.· Please specify.

14· · You're talking about the trademark

15· · registration or the logo?

16· · · · Q.· · Okay.

17· · · · · · · So your testimony is that your

18· · trademark registration was only in the word

19· · Zenu and not in this --

20· · · · A.· · Correct.

21· · · · Q.· · -- in this format?

22· · · · A.· · My initial registration, yes.

23· · · · Q.· · Even though the registration had

24· · specimens that used this logo, in fact used

25· · pictures of my client's version of that


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·1· · · · · · · · · W. Zuluaga

·2· · logo, correct?

·3· · · · A.· · At the time, I wasn't aware of

·4· · that, no.

·5· · · · Q.· · You weren't aware of it, but it

·6· · was your trademark registration filed on

·7· · behalf of your company and your name,

·8· · correct?

·9· · · · A.· · I hired a company to handle all

10· · the aspects of the registration process,

11· · including investigation and everything that

12· · was involved.· I didn't know what needed to

13· · be done.

14· · · · Q.· · Okay.

15· · · · · · · But it was on behalf of your

16· · company and you?

17· · · · A.· · It was unbeknownst to me that

18· · they did.

19· · · · Q.· · It was unbeknownst to you, you

20· · claim, but it was done on your behalf,

21· · correct?

22· · · · A.· · I did not know about it.· It was

23· · never my intention to deceive anybody with

24· · this, no.

25· · · · Q.· · In fact, looking back at Exhibit


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·1· · · · · · · · · W. Zuluaga

·2· · · · I'd like an answer to it.

·3· · · · · · · (The requested portion was read

·4· · · · back by the Court Reporter.)

·5· · · · A.· · Yes.

·6· · · · Q.· · And you claim that at the time

·7· · you came up with your Zenu mark, you had --

·8· · you were completely unaware that Industria

·9· · was selling products in Colombia using the

10· · Zenu brand?

11· · · · A.· · Correct.

12· · · · Q.· · And even though you had spent 17

13· · years in Colombia, you had never seen the

14· · Zenu brand on any product, is that correct?

15· · · · · · · MR. INGBER:· Objection.· Asked

16· · · · and answered.

17· · BY MR. RAYMOND:

18· · · · Q.· · Is that correct?

19· · · · · · · MR. INGBER:· Asked and answered

20· · · · ten times.· Badgering the witness.

21· · BY MR. RAYMOND:

22· · · · Q.· · Is that correct?

23· · · · A.· · Correct.

24· · · · Q.· · And have you gone back to

25· · Colombia at any time since you left at age


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·1· · · · · · · · · W. Zuluaga

·2· · 17?

·3· · · · A.· · Yes.

·4· · · · Q.· · Okay.

·5· · · · · · · How many times have you gone back

·6· · to Colombia since then?

·7· · · · A.· · I don't know.

·8· · · · Q.· · More than ten?

·9· · · · A.· · No.

10· · · · Q.· · More than five?

11· · · · A.· · Probably more than five.

12· · · · Q.· · Okay.

13· · · · · · · And you visited your mother when

14· · you were there?

15· · · · A.· · Yes.

16· · · · Q.· · And in those more than five,

17· · between five and ten trips to Colombia,

18· · again, you never saw any Industria

19· · Zenu-branded product sold or advertised in

20· · Colombia, is that correct?

21· · · · · · · MR. INGBER:· Same objection.

22· · · · A.· · Correct.

23· · · · Q.· · And you also claim that you came

24· · up with the Ranchera mark on your own, is

25· · that correct?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Yes.

·3· · · · Q.· · And so are you aware that Zenu

·4· · and Ranchera are Industria's two major

·5· · brands in Colombia?

·6· · · · A.· · No, I wasn't aware of that.

·7· · · · Q.· · Okay.

·8· · · · · · · And is it your testimony that you

·9· · had never seen any Industria Ranchera brand

10· · product sold or advertised in Colombia

11· · before you came up with your Ranchera mark?

12· · · · A.· · I haven't been in Colombia more

13· · than a couple of days.· No, I haven't.

14· · · · Q.· · So no, you never seen that

15· · before?

16· · · · A.· · No, I never seen it.

17· · · · Q.· · Okay.

18· · · · · · · So again, it is your testimony

19· · that it is just a huge coincidence that you

20· · happened to come up with Industria's two

21· · major trademarks as your trademarks --

22· · sorry, two major logos, we'll call them, as

23· · your logos and trademarks to be used in the

24· · United States, is that correct?

25· · · · A.· · That is correct.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · Do I need these anymore?

·3· · · · Q.· · You should keep those, yes.

·4· · · · · · · MR. INGBER:· What time is a good

·5· · · · time to break for lunch?

·6· · · · · · · MR. RAYMOND:· Let me just get

·7· · · · through this one more document and

·8· · · · then we'll do that.

·9· · · · · · · Let me ask the reporter to mark

10· · · · as Exhibit 13 some handwritten notes

11· · · · that have been produced in this case.

12· · · · · · · (Plaintiff's Exhibit 13,

13· · · · Handwritten notes, marked for

14· · · · identification, as of this date.)

15· · BY MR. RAYMOND:

16· · · · Q.· · Mr. Zuluaga, we've marked as

17· · Exhibit 13 several pages of handwritten

18· · notes which your counsel produced to us in

19· · this case.

20· · · · · · · Can you tell me what this

21· · document is?

22· · · · A.· · This appears to be some of the

23· · gyrations that I contemplated when coming

24· · up with my brand Zenu.

25· · · · Q.· · And when did you create this


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·1· · · · · · · · · W. Zuluaga

·2· · document?

·3· · · · A.· · I don't remember.

·4· · · · Q.· · Was it two years ago?

·5· · · · A.· · No.

·6· · · · Q.· · Was it more than two years ago?

·7· · · · A.· · Yes.

·8· · · · Q.· · How many more?

·9· · · · A.· · I don't remember when I came up

10· · with the document.

11· · · · Q.· · Was it prior to the commencement

12· · of this lawsuit?

13· · · · A.· · Oh, yes.

14· · · · Q.· · You're certain of that?

15· · · · A.· · Yes.

16· · · · Q.· · Okay.

17· · · · · · · Where were you when you created

18· · this document?

19· · · · A.· · I don't remember.

20· · · · Q.· · Was there anybody with you when

21· · you created this document?

22· · · · A.· · No.

23· · · · Q.· · Other than your counsel, has

24· · anybody ever seen this document before you

25· · produced it in this lawsuit?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Not to my knowledge.

·3· · · · Q.· · You never showed it to anyone at

·4· · LatinFood?

·5· · · · A.· · No.

·6· · · · Q.· · Did you ever show it to your

·7· · mother?

·8· · · · A.· · No.

·9· · · · Q.· · So you have no idea what year you

10· · created this, correct?

11· · · · A.· · I don't, correct.

12· · · · Q.· · Was it prior to filing the

13· · trademark registration application that we

14· · marked earlier?

15· · · · A.· · I don't remember when I created

16· · it.

17· · · · Q.· · So it might have been after you

18· · filed the application?

19· · · · A.· · I don't remember.

20· · · · Q.· · Okay.

21· · · · · · · MR. RAYMOND:· All right.· It's

22· · · · 1:00.· So why don't we take a lunch

23· · · · break.· How much time do you think you

24· · · · need?

25· · · · · · · MR. INGBER:· 45 minutes?


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. RAYMOND:· That's fine.

·3· · · · · · · THE VIDEOGRAPHER:· Going off the

·4· · · · record.· The time is 12:59 p.m.

·5· · · · · · · (Luncheon Recess taken at 12:59

·6· · · · p.m.)

·7· · · · · · · · · · · *· *       *

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·1· · · · · · · · · W. Zuluaga

·2· · · · ·A F T E R N O O N· ·S E S S I O N

·3· · · · · · · (Time noted:· 2:05 p.m.)

·4

·5· · · · · · · THE VIDEOGRAPHER:· The time is

·6· · · · 2:05 p.m.· We are back on the record.

·7· · · · · · · MR. RAYMOND:· Let me ask the

·8· · · · reporter to mark as Exhibit 14 a

·9· · · · one-page document with two logos on

10· · · · it.

11· · · · · · · (Plaintiff's Exhibit 14, Document

12· · · · with two Ranchera logos, marked for

13· · · · identification, as of this date.)

14· · BY MR. RAYMOND:

15· · · · Q.· · Mr. Zuluaga, I've handed you a

16· · document which is both my client's Ranchera

17· · logo and LatinFood's Ranchera logo.

18· · · · · · · Do you see that?

19· · · · A.· · I don't.

20· · · · Q.· · Do you recognize either of these

21· · as a logo that you've used on LatinFood

22· · products?

23· · · · A.· · No.

24· · · · Q.· · Do you claim to have designed

25· · either of these logos?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · I didn't use any of this.

·3· · · · Q.· · Neither of these have been used

·4· · on any LatinFood products, is that your

·5· · testimony?

·6· · · · A.· · Correct.

·7· · · · Q.· · But you do claim to have come up

·8· · independently with the mark Ranchera,

·9· · correct?

10· · · · A.· · Yes.

11· · · · Q.· · Okay.

12· · · · · · · And is it your testimony that you

13· · did that without being aware of Industria's

14· · use of the mark Ranchera?

15· · · · A.· · Correct.

16· · · · Q.· · When did you first become aware

17· · that Industria did use the mark Ranchera?

18· · · · A.· · I first became aware sometime in

19· · 2013.

20· · · · Q.· · And how did that come about?

21· · · · A.· · If I remember correctly, there

22· · was a communication from the USTM during

23· · the process of my application that was

24· · another brand out there similar to mine.

25· · · · Q.· · And what did you do to learn


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·1· · · · · · · · · W. Zuluaga

·2· · about that brand?

·3· · · · A.· · I didn't.

·4· · · · Q.· · You didn't research it at all?

·5· · · · A.· · No.

·6· · · · Q.· · You didn't Google Ranchera or --

·7· · · · A.· · At that time I don't remember

·8· · Googling them, no.

·9· · · · Q.· · Okay.

10· · · · · · · Do you remember doing any other

11· · kind of research to find out who this

12· · company was that was using what you

13· · claim --

14· · · · A.· · Not at that time, no.

15· · · · Q.· · Okay.

16· · · · · · · But you did become aware of that

17· · prior to using Ranchera on any LatinFood

18· · products, is that correct?

19· · · · A.· · No, that's incorrect.

20· · · · Q.· · Well, you testified earlier you

21· · didn't use Ranchera until 2014, isn't that

22· · correct?

23· · · · A.· · No, I don't think that's correct.

24· · · · Q.· · Okay.

25· · · · · · · When did you first use Ranchera


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·1· · · · · · · · · W. Zuluaga

·2· · on a product?

·3· · · · A.· · If my memory serves me right,

·4· · sometime in 2012.

·5· · · · Q.· · And that was HWZ?

·6· · · · A.· · Yes.

·7· · · · Q.· · And at the time you created

·8· · whatever your Ranchera mark was, had you

·9· · seen Industria's Ranchera mark?

10· · · · A.· · I don't remember seeing any other

11· · mark like that, no.

12· · · · Q.· · So you didn't see it?

13· · · · A.· · I don't remember seeing any other

14· · mark like that, no.

15· · · · Q.· · Okay.

16· · · · · · · At some point in time have you

17· · seen Industria's Ranchera mark?

18· · · · A.· · Yes.

19· · · · Q.· · And is it your contention that it

20· · is substantially different from the

21· · Ranchera logo that you use?

22· · · · A.· · I believe so, yes.

23· · · · Q.· · Okay.

24· · · · · · · A little bit earlier today you

25· · had mentioned Jaline Isidor, correct?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Correct.

·3· · · · Q.· · And she is the -- she runs Cibao

·4· · Meats, is that correct?

·5· · · · A.· · That's not the impression that I

·6· · got, no.

·7· · · · Q.· · She works for Cibao Meats?

·8· · · · A.· · I believe so, yes.

·9· · · · Q.· · Okay.

10· · · · · · · And you had said that Cibao Meats

11· · at one time produced certain products for

12· · LatinFood, is that correct?

13· · · · A.· · Yes.

14· · · · Q.· · And did Cibao Meats also do

15· · design work for LatinFood?

16· · · · A.· · No, not Cibao Meats, no.

17· · · · Q.· · Did some company relate to Cibao

18· · Meats do design work?

19· · · · A.· · Yes.

20· · · · Q.· · And which company was that?

21· · · · A.· · I believe the name was Jayi or

22· · Yayi or Juyi Photography.· I don't

23· · remember.

24· · · · Q.· · You understood that that company

25· · was affiliated with Cibao Meats somehow?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · I understood that company to be,

·3· · yes.

·4· · · · Q.· · Okay.

·5· · · · · · · And in communicating with them,

·6· · did you communicate through Jaline Isidor

·7· · at times?

·8· · · · A.· · I'm sorry, say that again?

·9· · · · Q.· · Well, when you were communicating

10· · with Yayi Photography about design work,

11· · did you sometimes communicate through

12· · Jaline Isidor?

13· · · · A.· · Yes.

14· · · · Q.· · Did you instruct Ms. Isidor to

15· · look on Industria's website, www.zenu.com,

16· · in connection with their design work for

17· · LatinFoods?

18· · · · A.· · I told her to look at it for

19· · inspiration, yes.

20· · · · Q.· · And are you aware in several

21· · e-mails that you instructed her to mimic

22· · certain designs on that website?

23· · · · · · · MR. INGBER:· Objection.· There's

24· · · · no foundation for that.· I don't

25· · · · believe --


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. RAYMOND:· "No foundation" is

·3· · · · not an appropriate objection in a

·4· · · · deposition.

·5· · · · · · · MR. INGBER:· Yes, it is.· Lack of

·6· · · · foundation.

·7· · · · · · · MR. RAYMOND:· You can object to

·8· · · · form.· It's all reserved until trial.

·9· · · · So you're just coaching the witness.

10· · · · He can answer the question or not.

11· · · · You can direct him not to answer or

12· · · · you can object to the form, but the

13· · · · speaking objections are completely

14· · · · inappropriate, you've said it to the

15· · · · magistrate.· So I'd like you to stop

16· · · · telling your witness what to say and

17· · · · let him answer the question.

18· · · · · · · MR. INGBER:· "Lack of foundation"

19· · · · is a proper form of objection.

20· · · · · · · MR. RAYMOND:· Not in a

21· · · · deposition, but --

22· · BY MR. RAYMOND:

23· · · · Q.· · In any event, you can answer the

24· · question.

25· · · · · · · MR. RAYMOND:· Can you read it


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·1· · · · · · · · · W. Zuluaga

·2· · e-mail that we've marked as Exhibit 18,

·3· · which you approved certain label designs,

·4· · that there was some tweaking and changes

·5· · that needed to be made for finalizing,

·6· · before finalizing.

·7· · · · · · · What tweaking or other changes

·8· · were made, to the best of your

·9· · recollection?

10· · · · A.· · The complete layout was changed.

11· · · · Q.· · Could you explain what you mean

12· · by that?

13· · · · A.· · The nutritional table was put in

14· · a different spot, the ingredients in a

15· · different spot, it was totally turnaround.

16· · This labels was never used, never printed.

17· · · · Q.· · The new labels contain photos of

18· · the products, correct?

19· · · · A.· · Correct.

20· · · · Q.· · And they contained your version

21· · of the Zenu trademark, is that correct?

22· · · · A.· · You're talking about my new

23· · labels?

24· · · · Q.· · Your labels that were made after

25· · October of 2013?


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Does that refresh your

·3· · recollection about whether you approved

·4· · her, the labels that she had created for

·5· · you with the Zenu logo and the other design

·6· · elements?

·7· · · · A.· · I approved the images that were

·8· · up to that point in production.· There were

·9· · additional tweaking and changes that needed

10· · to be finalized.

11· · · · Q.· · Okay.· Thank you.

12· · · · · · · THE WITNESS:· Just when you get a

13· · · · chance, Peter -- sorry, I know it's

14· · · · annoying, but I've got to --

15· · · · · · · MR. RAYMOND:· Not a problem.

16· · · · Take a break.

17· · · · · · · THE VIDEOGRAPHER:· Going off the

18· · · · record.· The time is 2:30 p.m.

19· · · · · · · (Recess taken from 2:30 p.m. to

20· · · · 2:41 p.m.)

21· · · · · · · THE VIDEOGRAPHER:· The time is

22· · · · 2:41 p.m.· We are back on the record.

23· · BY MR. RAYMOND:

24· · · · Q.· · Mr. Zuluaga, just before the

25· · break you had said in response to the


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·1· · · · · · · · · W. Zuluaga

·2· · · · 2013 from Mr. Zuluaga to Ms. Isidor

·3· · · · responding to her, October 24th

·4· · · · e-mail.

·5· · · · · · · (Plaintiff's Exhibit 18, E-mail

·6· · · · dated 10/24/13, marked for

·7· · · · identification, as of this date.)

·8· · BY MR. RAYMOND:

·9· · · · Q.· · Zuluaga Exhibit 18 which I've

10· · just shown you contains an e-mail from

11· · Ms. Isidor to you dated October 24, 2013

12· · saying, "Good afternoon, Wilson.· Attached

13· · are all the images that will be used for

14· · your product line.· Please send me an

15· · e-mail with the word approved for all of

16· · images so that they can be sent for

17· · production.· I included the Salchichon

18· · traditional so you could see everything all

19· · together.· It has been sent already to the

20· · company."

21· · · · · · · And you then responded a few

22· · hours later that day saying, "Good

23· · afternoon.· All images are hereby

24· · approved" -- in all caps.

25· · · · A.· · Yes.


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · Well, I don't have it in front of

·3· · me.· These labels were never printed.

·4· · These labels were never used.

·5· · · · Q.· · But you don't remember how they

·6· · were changed?· You remember you changed the

·7· · Zenu logo as shown on Exhibit 11 --

·8· · · · A.· · I think almost 200 labels.         I

·9· · can't tell you how many changes each of

10· · them took over time.· If I had it in front

11· · of me, I could tell you.· I don't have it

12· · in front of me.

13· · · · Q.· · Did you ever write her and tell

14· · her to stop mimicking the website that you

15· · told her to look at for inspiration?

16· · · · A.· · I told her to take her own

17· · pictures, use her own designs.

18· · · · Q.· · And are you aware that Ms. --

19· · subsequent to Exhibit 17, Ms. Isidor

20· · specifically asked you to approve the

21· · labels that she had created for you and you

22· · did approve them?

23· · · · A.· · I don't have that in front of me.

24· · · · · · · MR. RAYMOND:· Let's mark as

25· · · · Exhibit 18 an e-mail dated October 24,


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·1· · · · · · · · · W. Zuluaga

·2· · did in Exhibit 11, that's what you're

·3· · saying?

·4· · · · A.· · Right.

·5· · · · Q.· · Okay.

·6· · · · · · · And those are the only changes

·7· · you made from the second logo to the first

·8· · logo on Exhibit 11?

·9· · · · A.· · Yes.

10· · · · Q.· · And the pictures of the product

11· · that were included in these attachments,

12· · did you use those pictures or did you take

13· · new pictures?

14· · · · A.· · I don't -- these look like the

15· · pictures I used, yeah.

16· · · · Q.· · And did you change the

17· · description of the product, the Chorizo

18· · Colombiano?· Did that come out differently

19· · in your version?

20· · · · A.· · The label changed.· I don't know

21· · the changes that took place after this, but

22· · the label did change, significantly in some

23· · cases.

24· · · · Q.· · Okay.

25· · · · · · · How did it change?


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·1· · · · · · · · · W. Zuluaga

·2· · · · prior page from the LatinFood website.

·3· · · · · · · MR. INGBER:· Is this the first

·4· · · · time this is being presented to us?

·5· · · · · · · MR. RAYMOND:· It's your client's

·6· · · · website, so...

·7· · · · · · · MR. INGBER:· That doesn't answer

·8· · · · the question.

·9· · · · · · · (Plaintiff's Exhibit 23, Website

10· · · · page, marked for identification, as of

11· · · · this date.)

12· · BY MR. RAYMOND:

13· · · · Q.· · Mr. Zuluaga, as I stated, there

14· · is a website on the internet that allows,

15· · that goes around taking photos of websites

16· · and then keeps them on thereafter.· The

17· · websites have disappeared or been changed

18· · so you can go back and look at old

19· · websites, and we did such a search and

20· · found an older version of LatinFood website

21· · from which we took this page.

22· · · · · · · My question to you is, is this

23· · familiar to you?· Do you recognize this as

24· · a page from your former website?

25· · · · A.· · Yes.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Okay.

·3· · · · · · · Is it correct that this indicates

·4· · to consumers that LatinFood imports and

·5· · sells products from various companies out

·6· · of the United States?

·7· · · · A.· · I don't agree with that.

·8· · · · Q.· · Okay.

·9· · · · · · · Well, tell me what this page was

10· · supposed to communicate.

11· · · · A.· · These are some of the products we

12· · carry.

13· · · · Q.· · Okay.

14· · · · · · · And the Juan Valdez Cafe, was

15· · that a product that was imported into the

16· · United States?

17· · · · A.· · Not by me, no.

18· · · · Q.· · Sorry, wasn't asking if you

19· · imported it.· I'm asking if you're aware --

20· · if that is a product that's created outside

21· · of the United States and imported here?

22· · · · A.· · I believe it is imported here,

23· · yes.

24· · · · Q.· · And you list Nestle.· What

25· · products did you sell under the necessarily


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·1· · · · · · · · · W. Zuluaga

·2· · brand?

·3· · · · A.· · Snacks, if I remember correctly.

·4· · · · Q.· · And were those snacks again, that

·5· · were imported from again, outside of the

·6· · United States?

·7· · · · A.· · I don't remember when this

·8· · website -- this was an interim website.

·9· · This wasn't intended to be finalized, and I

10· · don't remember when this was.· So I don't

11· · know what products I carried.

12· · · · Q.· · Did LatinFood at any time sell

13· · products Nestle, any Nestle products that

14· · were imported into the United States?

15· · · · A.· · Yes.

16· · · · Q.· · And Fruco, what is Fruco?

17· · · · A.· · Seasonings.

18· · · · Q.· · Do you know where Fruco

19· · seasonings are manufactured?

20· · · · A.· · I don't know what they

21· · manufacture, no.

22· · · · Q.· · Okay.

23· · · · · · · But do you know whether they are

24· · imported into the United States?

25· · · · A.· · They are, yes.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · Okay.

·3· · · · · · · And you have Zenu here, and I

·4· · notice you're using my client's version of

·5· · that logo according to your description.

·6· · · · · · · Was that to indicate that you

·7· · were selling my clients Zenu products

·8· · imported into the United States?

·9· · · · A.· · No.

10· · · · Q.· · Was that meant to say you were

11· · selling your own Zenu-branded products?

12· · · · A.· · Yes.· But again, this was not a

13· · finalized version of the website.

14· · · · Q.· · Okay.

15· · · · · · · But it was up on the internet,

16· · was it not?

17· · · · A.· · It wasn't supposed to have been.

18· · I didn't approve it to go out.

19· · · · Q.· · Okay.

20· · · · · · · But it did go out.· We found it

21· · on the internet, so...

22· · · · A.· · Without my knowledge.

23· · · · Q.· · Okay.

24· · · · · · · And in fact, all these products

25· · that are listed at the bottom of this


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·1· · · · · · · · · W. Zuluaga

·2· · · · two-month phase-out period.

·3· · · · · · · MR. KADOSH:· Thanks for

·4· · · · testifying, Mark.

·5· · · · A.· · They started decreasing the shelf

·6· · space allowed for my products until it was

·7· · down to nothing.

·8· · · · Q.· · Yeah, but then they increased the

·9· · order.

10· · · · A.· · On some products while it was

11· · still on the shelf, but then they phased me

12· · out totally.

13· · · · Q.· · Now, do you claim damages in

14· · relation to lost sales at any other

15· · supermarkets?

16· · · · A.· · Absolutely.

17· · · · Q.· · Okay.

18· · · · · · · Which other supermarkets?

19· · · · A.· · Off the top of my head, we got

20· · Supremos, like we talked.

21· · · · Q.· · I'm sorry?

22· · · · A.· · Supremos and Twin Cities,

23· · which --

24· · · · Q.· · And are you saying that you lost

25· · sales in both of those locations?


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·2· · · · A.· · Yes.· I didn't realize my growth

·3· · potential in any of those locations due to

·4· · this incident.

·5· · · · Q.· · Do you have any evidence that

·6· · Mr. Yepes spoke to anyone at any

·7· · supermarket other than Food Fair?

·8· · · · A.· · I wasn't there, no.

·9· · · · Q.· · I'm asking you if you have any

10· · evidence.

11· · · · A.· · No.

12· · · · Q.· · So on what basis do you claim

13· · that whatever diminishment in sales you

14· · allegedly had was based on conversations

15· · with Mr. Yepes?

16· · · · A.· · This is feedback that I started

17· · getting from my customers that my product

18· · was fake and they were concerned about it.

19· · · · Q.· · And did they tell you how they

20· · learned that the product was fake?

21· · · · A.· · They told me there was some

22· · people around telling them that the product

23· · was fake and that I was going to be out of

24· · business really soon.

25· · · · Q.· · Did they identify who those


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·2· · people were?

·3· · · · A.· · No.

·4· · · · Q.· · Maybe it was your competitor who

·5· · tried ordering the Marquillas labels.

·6· · · · · · · But let's look at the sales for

·7· · the Supremos Supermarket in Elizabeth, New

·8· · Jersey.· That's the top line.

·9· · · · A.· · Uh-huh.

10· · · · Q.· · So you don't have any sales there

11· · until the week of June 14th, right, when

12· · you have $220 and then a small order for

13· · $30, $155, $295 the week of July 12th, the

14· · week that this alleged interference took

15· · place.

16· · · · · · · The week after, they also

17· · continue ordering, $124.

18· · · · · · · The week of July 26th, $54.

19· · · · · · · The week of August 2nd, $210.

20· · · · · · · So the second biggest order or

21· · the third biggest order took place three

22· · weeks after this alleged conversation?

23· · · · · · · And then if you go on, you know,

24· · the orders continue.· They even -- the

25· · Supremos is even putting in orders as late


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·1· · · · · · · · · W. Zuluaga

·2· · as October, November and, in fact,

·3· · December.· So they actually put in orders

·4· · the entire year.

·5· · · · · · · So what is your basis to claim

·6· · that alleged conversations that you can't

·7· · even identify are the basis for this

·8· · Supremos location stopping to purchase from

·9· · you when they didn't?

10· · · · A.· · There were additional locations

11· · that was affected.· My growth potential

12· · wasn't realized due to this issue.

13· · · · Q.· · So they continued to sell

14· · products that somebody told them were

15· · counterfeit and fake and exposed them to

16· · legal liability at the Elizabeth location,

17· · but they wouldn't add you to other

18· · locations because that was just too much

19· · risk to take on?

20· · · · A.· · I don't know.· I can't speak for

21· · them.

22· · · · Q.· · But you are claiming damages for

23· · lost sales at Supremos?

24· · · · A.· · That is correct, yes.

25· · · · Q.· · All right.· Why don't we look at


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·2· · Twin Cities, also in Elizabeth.

·3· · · · · · · So there are many weeks that you

·4· · have no sales in Twin Cities in the

·5· · Elizabeth location.· And then starting in

·6· · July, before the conversation you have an

·7· · order for $894.

·8· · · · · · · Then the week of the

·9· · conversation, an order for $96.

10· · · · · · · Following week, zero dollars.

11· · · · · · · July 26th, $339.

12· · · · · · · And if you just continue

13· · throughout the year, they're putting in --

14· · I'm looking at the page 4 of 5, they put in

15· · 3 to $400 orders -- or $200 orders almost

16· · every week.· And, in fact, they, too, put

17· · in orders the entire year.

18· · · · · · · So what is your basis for

19· · claiming that you're harmed in your

20· · potential sales to Twin City?

21· · · · A.· · Again, I didn't realize growth

22· · potential.· They didn't allow me to expand

23· · my shelf space.

24· · · · · · · MR. KADOSH:· Let's take a short

25· · · · break.· I think we might be near the


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·1· · · · · · · · · W. Zuluaga

·2· · · · end.· So let's just take a short

·3· · · · break.· Okay.

·4· · · · · · · THE WITNESS:· Okay.

·5· · · · · · · THE VIDEOGRAPHER:· Going off the

·6· · · · record.· The time is 5:33 p.m.

·7· · · · · · · (Recess taken from 5:33 p.m. to

·8· · · · 5:45 p.m.)

·9· · · · · · · THE VIDEOGRAPHER:· The time is

10· · · · 5:46 p.m.· We're back on the record.

11· · BY MR. KADOSH:

12· · · · Q.· · Mr. Zuluaga, you don't have any

13· · evidence that these stores stopped ordering

14· · from you, to the extent that they did,

15· · because of alleged conversations made by

16· · Cordialsa representatives, isn't that

17· · right?

18· · · · A.· · That's not right.

19· · · · Q.· · Isn't it true that stores could

20· · stop ordering for any number of reasons?

21· · · · A.· · No, not in my case.

22· · · · Q.· · Not in your case?

23· · · · · · · Isn't it true that around that

24· · time Gloria Moreno was complaining about

25· · the quality of some of your products?


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · MR. INGBER:· I'd like to have

·3· · · · this --

·4· · BY MR. INGBER:

·5· · · · Q.· · What did you do after?

·6· · · · A.· · A few days later, I wrote an

·7· · e-mail to USTM making them aware of the

·8· · call and the need for the specimens, and I

·9· · provided them with the specimens so they

10· · could upload them directly.

11· · · · · · · MR. INGBER:· Can I have this

12· · · · marked Exhibit D.

13· · · · · · · (LatinFood Cross Exhibit D,

14· · · · E-mail, marked for identification, as

15· · · · of this date.)

16· · BY MR. INGBER:

17· · · · Q.· · Now, take a look at Exhibit D,

18· · Cross Exhibit D.· What is this?

19· · · · A.· · This appears to be an e-mail from

20· · USTM, I guess between them.

21· · · · Q.· · The second --

22· · · · A.· · The original e-mail was from me.

23· · · · Q.· · Okay.

24· · · · · · · What date is it?

25· · · · A.· · This is on May 14, 2014.


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·1· · · · · · · · · W. Zuluaga

·2· · · · Q.· · And who was it to?

·3· · · · A.· · I direct it to E. Melo at USTM.

·4· · That was my point of contact.

·5· · · · Q.· · And what is this e-mail about?

·6· · · · A.· · This is notifying them that I had

·7· · received a call the prior week and that I'm

·8· · enclosing the pictures.· The person was

·9· · supposed to send me a link for me to upload

10· · them, but the link never arrived on my

11· · e-mail.· I'm asking them to upload the

12· · pictures.

13· · · · Q.· · Are these -- were these

14· · attachments true copies of the products you

15· · were actually using at that time?

16· · · · A.· · This is my product.· This is not

17· · my product.· And this is not my product.

18· · · · Q.· · These are not the products that

19· · you -- were these documents attached to

20· · this letter?

21· · · · A.· · I don't know.· These were

22· · actually not attached, definitely, no, it

23· · wasn't attached.

24· · · · Q.· · Did you send them accurate

25· · pictures?


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·1· · · · · · · · · W. Zuluaga

·2· · · · A.· · I did.

·3· · · · Q.· · Do you know if those accurate

·4· · specimens ended up being used?

·5· · · · · · · MR. RAYMOND:· Object to the form.

·6· · · · A.· · You mean at the --

·7· · · · Q.· · Do you know if the specimens that

·8· · you provided to USTM were ever uploaded to

·9· · the Trademark Office?

10· · · · A.· · No.· I learned later on they

11· · uploaded their own specimens, not the ones

12· · I provided.

13· · · · Q.· · Do you know if these were the

14· · specimens that were uploaded?· I think you

15· · said they were incorrect.

16· · · · A.· · They were incorrect, yes.

17· · · · Q.· · Could I get No. 10?

18· · · · · · · Now I believe you were asked

19· · earlier about Exhibit 10.

20· · · · A.· · Yes.

21· · · · Q.· · Which was the U.S. trademark

22· · application filed for your Zenu mark by

23· · USTM, is that what you said?

24· · · · A.· · Correct.

25· · · · Q.· · Okay.


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·1· · · · · · · · · W. Zuluaga

·2· · · · · · · Now, I believe you referenced on

·3· · page 2 there was an e-mail address.

·4· · · · A.· · Yes.

·5· · · · Q.· · Wilson.Zuluaga@mailovo.com.

·6· · · · A.· · Yes.· That's not my e-mail

·7· · address.

·8· · · · Q.· · Do you know whose e-mail address

·9· · that is?

10· · · · A.· · USTM created it to communicate

11· · with the trademark without my knowledge.

12· · · · Q.· · Did you ever receive any e-mail

13· · communications from the Trademark Office?

14· · · · A.· · Not by e-mail, no.

15· · · · Q.· · If you could pull No. 12, please,

16· · Exhibit No. 12.

17· · · · A.· · Okay.

18· · · · Q.· · Now, these are LatinFoods'

19· · Responses to Plaintiff's First Set of

20· · Interrogatories.

21· · · · A.· · Correct.

22· · · · Q.· · And I believe you testified

23· · earlier that page 12 was your signature and

24· · that --

25· · · · A.· · Correct.


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 ·1

 ·2· · · · · · · ·C E R T I F I C A T E

 ·3· · STATE OF NEW YORK· · )

 ·4· · · · · · · · · · · · ·: ss.

 ·5· · COUNTY OF NEW YORK· ·)

 ·6

 ·7· · · · · · · I, Joan Ferrara, a Notary Public

 ·8· · · · within and for the State of New York,

 ·9· · · · do hereby certify:

 10· · · · · · · That WILSON ZULUAGA, the witness

 11· · · · whose deposition is hereinbefore set

 12· · · · forth, was duly sworn by me and that

 13· · · · such deposition is a true record of the

 14· · · · testimony given by the witness.

 15· · · · · · · I further certify that I am not

 16· · · · related to any of the parties to this

 17· · · · action by blood or marriage, and that I

 18· · · · am in no way interested in the outcome

 19· · · · of this matter.

 20· · · · · · · IN WITNESS WHEREOF, I have

 21· · · · hereunto set my hand this 22nd day of

 22· · · · December, 2019.

 23

 24· · · · · · · · · · · · ·_____________________

 25· · · · · · · · · · · · · · ·Joan Ferrara


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